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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED     STATES         OF   AMERICA,      )               CASE NO. 8:07CR71
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )                     ORDER
                                             )
GILBERTO NORIEGA,                            )
                                             )
             Defendant.                      )

      This matter is before the Court on the court’s own motion.

      In 8:07CR420, United States v. Gilberto Noriega, the parties agreed to dismiss the

Indictment in 8:07CR71 as against the Defendant Gilberto Noriega. (Filing Nos. 42, 53.)

      Accordingly,

      IT IS ORDERED that the Indictment in the above-captioned case is dismissed

without prejudice as against the Defendant, Gilberto Noriega.

      DATED this 9th day of February, 2009.

                                                 BY THE COURT:

                                                 S/Laurie Smith Camp
                                                 United States District Judge
